 

Case: 1:06-cr-00551 Document #: 3 Filed: 08/03/06 Page 1 | 1 PagelD #:4

Minute Order Form (rev. 49) |

UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF ILLINOIS

 

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or Magistrate Judge : si Judge H ont iy) erdaut

CASE NUMBER] 05 Go 772 WUDGE M

 

 

   

AUGUST 3, 2006

CASE TITLE US V. RICARDO VALDE4Z-TORRES, aka “El Celebro”, ALFREDO MOLINA-GARCIA, aka
“Guero”, JESUS MARIO FAJARDO-TRUJILIG, aka “Mdrito”, aka “Marin”
GUADALUPE MORENO-S0TO aka “Tio”, aka “Weterano”

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GRAND JURY PROCEEDING AND REQUEST TQ SEAL

 

 

 

 

SPECTAL DECEMBER 2005
The Grand Jury for the Session, a quorum being present.
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returns the above-entithed indictment in open Court this ite befor

   
  

Judge or Magistrate Judge

 

 

Docket Entry: !

THE GOVERNMENT WILL SEEK TO HAVE THE DEFENDANT DETATNEDR WITHOUT BOND
PURSUANT TO TITLE 18, UNITED STATES CODE, SECTION 3142 AS TO RICARDO

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DEFENDANTS DETAINED WITHOUT BOND PURSUANT TO TITLE 18, UNITED STATES CODE,
SECTION 3142 AS TO JESUS MARIO FAJARDO-TRUJILLO, AND GUADALUFE MORENG-—
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Ricardo Valdez-Tovres i L E D

Alfredo Motina - Ca , DO

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